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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                              ROME DIVISION

  EARL PARRIS, JR., et al.,

                  Plaintiffs,

  CITY OF SUMMERVILLE,                   Civil Action No.: 4:21-cv-40-TWT
  GEORGIA, Intervenor-Plaintiff,

             v.

  3M COMPANY, et al.,

                  Defendants.



                   DAIKIN AMERICA, INC.’S ANSWER TO
             DEFENDANT RYAN DEJUAN JARRETT’S CROSSCLAIM

        Daikin America, Inc. (“DAI”) files this Answer to Defendant Ryan Dejuan

Jarrett’s (“Jarrett”) Crossclaim (“Crossclaim”) contained in his Answer to

Intervenor-Plaintiff the City of Summerville, Georgia’s Complaint in Intervention

(Doc. 153).

        DAI denies any allegations as to DAI contained in the Crossclaim’s

unnumbered paragraph and further denies that Jarrett is entitled to any relief from

DAI.




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                                      DEFENSES

        1.     The Crossclaim fails to state a claim upon which relief can be granted

against DAI.

        2.     The Crossclaim for indemnity and contribution is not ripe.

        3.     The Crossclaim for indemnity is not a cognizable claim to the extent

fault is apportioned.

        4.     The Crossclaim is barred, in whole or in part, by the doctrine of

comparative fault, and to the extent that any other Defendant has settled or may in

the future settle, DAI asserts its entitlement to an appropriate credit, setoff, or

reduction of any judgment against it.

        5.     The Crossclaim for attorney’s fees fails because there is no contractual,

statutory, or other basis for an award of attorney’s fees in this lawsuit against DAI.

DAI further did not act in a manner that gives rise to a claim for attorneys’ fees or

expenses in this lawsuit.

        6.     Any recovery may be barred or reduced by the negligence, fault, or

carelessness of others for whose conduct DAI is not responsible. Any judgment

rendered against DAI in this action, under all theories of liability plead, must be

limited to the fault, if any, attributable to DAI. DAI is entitled to apportion its fault,

if any, to the fault of any and all other persons or entities who are or could be


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responsible for any of Plaintiffs’ injuries or damages, regardless of whether such

persons or entities are or could have been parties to this action, and regardless of

whether Plaintiff was negligent. See, e.g., Ga. Code Ann. § 51-12-33.

        7.     DAI may be entitled to a set-off in the event Plaintiffs or Crossclaim

Plaintiff Jarrett received or receive payment from any source relating to the facts and

circumstances at issue in this lawsuit.

        8.     DAI hereby adopts and incorporates the affirmative defenses set forth

by its co-defendants in this case.

        9.     DAI adopts and incorporates by reference all defenses DAI asserted in

its Answer to the First Amended Complaint (Doc. 140) and its Answer to the

Intervenor Complaint (Doc. 141).

        10.    DAI reserves the right to assert additional defenses based upon

information learned during the course of this litigation and/or through discovery in

this action.




                            [Signature on Following Page]




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Dated: May 12, 2022

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                      CERTIFICATE UNDER L.R. 7.1.D.

        Pursuant to Northern District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is a computer document and

was prepared in Times New Roman 14-point font, as mandated in Local Rule 5.1.C.

                                     /s/ William E. Underwood
                                     William E. Underwood, Ga. Bar No. 401805




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                        CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 12, 2022, I electronically filed the

foregoing DAIKIN AMERICA, INC.’S ANSWER TO DEFENDANT RYAN

DEJUAN JARRETT’S CROSSCLAIM with the Clerk of Court by using the

CM/ECF system, which has notified all counsel of record.

                                     /s/ William E. Underwood
                                     William E. Underwood, Ga. Bar No. 401805




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